                              1   WEIL, GOTSHAL & MANGES LLP
                                  Stephen Karotkin (pro hac vice)
                              2   (stephen.karotkin@weil.com)
                                  Ray C. Schrock, P.C. (pro hac vice)
                              3   (ray.schrock@weil.com)
                                  Jessica Liou (pro hac vice)
                              4   (jessica.liou@weil.com)
                                  Matthew Goren (pro hac vice)
                              5   (matthew.goren@weil.com)
                                  767 Fifth Avenue
                              6   New York, NY 10153-0119
                                  Tel: 212 310 8000
                              7   Fax: 212 310 8007

                              8   KELLER BENVENUTTI KIM LLP
                                  Tobias S. Keller (#151445)
                              9   (tkeller@kbkllp.com)
                                  Jane Kim (#298192)
                             10   (jkim@kbkllp.com)
                                  650 California Street, Suite 1900
                             11   San Francisco, CA 94108
                                  Tel: 415 496 6723
                             12   Fax: 650 636 9251
Weil, Gotshal & Manges LLP




                             13   Attorneys for Debtors and Debtors in Possession
 New York, NY 10153-0119
      767 Fifth Avenue




                             14                               UNITED STATES BANKRUPTCY COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                             15                                    SAN FRANCISCO DIVISION

                             16
                                                                             Bankruptcy Case No. 19-30088 (DM)
                             17
                                   In re:                                    Chapter 11
                             18
                                   PG&E CORPORATION,                         (Lead Case) (Jointly Administered)
                             19
                                            - and -                          NOTICE OF CONTINUED HEARING ON
                             20                                              DEBTORS’ FIRST OMNIBUS REPORT AND
                                   PACIFIC GAS AND ELECTRIC                  OBJECTION TO CLAIMS ASSERTED PURSUANT
                             21    COMPANY,                                  TO 11 U.S.C. § 503(b)(9) SOLELY WITH RESPECT
                                                                             TO CLAIM OF MARSH LANDING LLC
                             22                                   Debtors.
                                                                             [Re: Dkt No. 2896]
                             23     Affects PG&E Corporation
                                    Affects Pacific Gas and Electric        Date: June 24, 2020
                             24    Company                                   Time: 10:00 a.m. (Pacific Time)
                                    Affects both Debtors                    Place: (Telephonic/Video Appearances Only)
                             25                                                     United States Bankruptcy Court
                                   * All papers shall be filed in the Lead          Courtroom 17, 16th Floor
                             26    Case, No. 19-30088 (DM).                         San Francisco, CA 94102

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 1           PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and
 2
     debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
 3   Cases”), each filed a voluntary petition for relief under chapter 11 of title 11 of the United States
     Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District
 4   of California (San Francisco Division) (the “Bankruptcy Court”).
 5           PLEASE TAKE FURTHER NOTICE that on March 1, 2019, the Bankruptcy Court
     entered that certain Amended Order Pursuant to 11 U.S.C. §§ 503(b)(9) and 105(a) Establishing
 6   Procedures for the Assertion, Resolution, and Satisfaction of Claims Asserted Pursuant to 11 U.S.C.
 7   § 503(b)(9) [Dkt. No. 725] (the “503(b)(9) Procedures Order”), pursuant to which the Court
     established certain procedures to govern the resolution of any claims that may be asserted against the
 8   Debtors by various claimants (each a “Claimant”) pursuant to section 503(b)(9) of the Bankruptcy
     Code (the “503(b)(9) Claims”).
 9
              PLEASE TAKE FURTHER NOTICE that on July 8, 2019, in accordance with the
10   503(b)(9) Procedures Order, the Debtors filed their first omnibus report and objection (“Objection”)
11   to the 503(b)(9) Claims [Dkt. No. 2896] that have been asserted as of the date of that filing by
     various Claimants. The notice of hearing filed concurrently with the Objection [Dkt. No. 2898]
12   established that: (1) the hearing before the Bankruptcy Court on the Objection was scheduled for
     August 14, 2019, at 9:30 a.m. (Pacific Time) (the “August 14 Omnibus Hearing”); (2) any
13   oppositions or responses to the Objection must have been in writing, filed with the Bankruptcy
     Court, and served on the counsel for the Debtors at the above-referenced addresses so as to be
14   received by no later than 4:00 p.m. (Pacific Time) on July 31, 2019 (the “Response Deadline”); and
15   (3) all oppositions and responses must have been filed and served on all “Standard Parties” as
     defined in paragraph 5 of, and otherwise in accordance with, the Second Amended Order
16   Implementing Certain Notice and Case Management Procedures entered on May 14, 2019 [Dkt.
     No. 1996] (“Case Management Order”).
17
            PLEASE TAKE FURTHER NOTICE that the Debtors received formal responses to the
18   Objection from, among others, the holder of the following 503(b)(9) Claim: Marsh Landing LLC
     (503(b)(9) Claim No. 2026) [Dkt No. 3286] (the “Marsh Landing Claim”).
19

20           PLEASE TAKE FURTHER NOTICE that the hearing on the Objection, solely with
     respect to the Marsh Landing Claim, was previously continued from the August 14 Omnibus
21   Hearing on a number of occasions and was scheduled to be heard on June 9, 2020 (the “June 9
     Omnibus Hearing”).
22
             PLEASE TAKE FURTHER NOTICE that the hearing on the Objection, solely with
23   respect to the Marsh Landing Claim, will be further continued from the June 9 Omnibus Hearing to
24   June 24, 2020, at 10:00 a.m. (Pacific Time) (the “June 24 Omnibus Hearing”), before the
     Honorable Dennis Montali, United States Bankruptcy Judge. Pursuant to the Bankruptcy Court’s
25   Third Amended General Order No. 38 In re: Coronavirus Disease Public Health Emergency, dated
     May 28, 2020, the June 24 Omnibus Hearing will be conducted by telephone or video
26   conference. The courtroom will be closed. All interested parties should consult the Bankruptcy
     Court’s website at www.canb.uscourts.gov for information about court operations during the
27   COVID-19 pandemic. The Bankruptcy Court’s website provides information regarding how to
28   arrange a telephonic or video appearance. If you have any questions regarding how to appear at a

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     court hearing, you may contact the Bankruptcy Court by calling 888-821-7606 or by using the Live
 1   Chat feature on the Bankruptcy Court’s website.
 2
             PLEASE TAKE FURTHER NOTICE that this Notice of Continued Hearing does not
 3   affect the hearing dates or deadlines with respect to any other 503(b)(9) Claims that are the subject
     of the Objection.
 4
              PLEASE TAKE FURTHER NOTICE that copies of each pleading identified herein can be
 5   viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov, (ii) by
     contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
 6   94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC, at
 7   https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
     parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
 8   Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.

 9   Dated: June 8, 2020
                                             WEIL, GOTSHAL & MANGES LLP
10                                           KELLER BENVENUTTI KIM LLP
11
                                              /s/ Thomas B. Rupp
12                                            Thomas B. Rupp
13                                            Attorneys for Debtors and Debtors in Possession
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